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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                      )
 US DOMINION, INC., DOMINION                          )
 VOTING SYSTEMS, INC., and DOMINION                   )
 VOTING SYSTEMS CORPORATION,                          )
                                                      )
         Plaintiffs/Counter-Defendants,               )
                                                      )   Case No. 1:21-cv-0040 (CJN)
 v.                                                   )
                                                      )
 SIDNEY POWELL, SIDNEY POWELL,                        )
 P.C., and DEFENDING THE REPUBLIC,                    )
 INC.,                                                )
                                                      )
        Defendants/Counter-Plaintiffs.                )
                                                      )

            [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR
         ADMISSION PRO HAC VICE OF ATTORNEY GEORGE EL-KHOURY

        Upon consideration of Plaintiffs’ Motion for Admission Pro Hac Vice of Attorney George

El-Khoury in the above-captioned matter and the Declaration of George El-Khoury in support

thereof, and it appearing that there is good cause to grant the motion, it is hereby

        ORDERED that the Plaintiffs’ Motion for Admission Pro Hac Vice of Attorney George

El-Khoury be, and the same hereby, is GRANTED; and it is

        FURTHER ORDERED that George El-Khoury be allowed to appear pro hac vice in court

proceedings in the above-captioned matter.

        SO ORDERED this ________ day of ________ 2024.

Dated: ______________________

                                                          _______________________________
                                                          UNITED STATES DISTRICT JUDGE




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